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 2
 3
                                 UNITED STATES DISTRICT COURT
 4
                                 FOR THE DISTRICT OF COLUMBIA
 5
 6   UNITED STATES OF AMERICA,                   )    Criminal No. 21-CR-0687 (RC)
                                                 )
 7                  Plaintiff,                   )
                                                 )
 8             v.                                )    MR. RHINE’S MOTION TO
                                                 )    CORRECT/REMOVE CONDITION OF
 9   DAVID CHARLES RHINE,                        )    SUPERVISED RELEASE
                                                 )
10                  Defendant.                   )
                                                 )
11
12          Mr. Rhine respectfully moves this Court to correct and remove a condition of

13   supervised release, which appears to have been entered as a simple clerical error.

14   Namely, Mr. Rhine asks this Court to remove the DNA testing condition of supervised

15   release, imposed as mandatory condition number 5. See Dkt. 120 at 4. Undersigned

16   counsel has consulted both U.S. Probation and the government. Probation, through

17   Officer Sherry Baker, does not oppose the request. The government, through Assistant

18   U.S. Attorney Francesco Valentini, does not oppose the request to the extent the

19   checking of the DNA collection condition in the judgment was a clerical error and the

20   Court did not intend to impose the condition. However, if the Court intended to impose

21   the condition, the government opposes Mr. Rhine’s request.

22          The DNA collection condition is to be imposed for felony convictions and

23   convictions of certain other crimes not relevant here. See 34 U.S.C. § 40702(d) (listing

24   qualifying federal offenses); U.S.S.G. § 5D1.3(a)(8) (providing for imposition of the

25   condition if DNA collection is authorized under § 40702). Mr. Rhine was convicted

26   only of misdemeanor offenses that are not the basis for DNA collection under the

                                                                FEDERAL PUBLIC DEFENDER
       MOTION TO CORRECT/REMOVE CONDITION OF                         1331 Broadway, Suite 400
       SUPERVISED RELEASE                                                  Tacoma, WA 98402
       (United States v. Rhine, 21-CR-687 (RC)) - 1                            (253) 593-6710
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 1   statute or guideline. No mention of the DNA collection condition was made during the
 2   sentencing hearing, see generally Dkt. 132, and the Court did not specially impose the
 3   condition verbally during that hearing, see id. at 31–33. Nor was the condition
 4   recommended in the Pre-Sentence Report (PSR). See Dkt. 112 at 18–19. As such, the
 5   inclusion of the condition on the written judgment appears to be a minor clerical error.
 6          Mr. Rhine respectfully asks this Court to correct the error and remove the DNA
 7   collection condition. Probation has indicated the best format for making this correction
 8   would be an Amended Judgment that simply unchecks the box next to the DNA
 9   collection condition. Mr. Rhine asks the Court to issue such an Amended Judgment.
10          DATED this 26th day of June 2024.
11                                             Respectfully submitted,
12
                                               s/ Rebecca Fish
13                                             WA State Bar Number: 57488
                                               Assistant Federal Public Defender
14                                             1331 Broadway, Suite 400
15                                             Tacoma, WA 98402
                                               Phone: (253) 593-6710
16                                             Email: Becky_Fish@fd.org
17                                             Attorney for David Rhine
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                                                                FEDERAL PUBLIC DEFENDER
       MOTION TO CORRECT/REMOVE CONDITION OF                         1331 Broadway, Suite 400
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